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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 INTERNATIONAL CODE COUNCIL, INC,
 and ICC EVALUATION SERVICE, LLC,
                                                   Case No. 1:24-cv-04998
                Plaintiffs.
                                                   Judge John F. Kness
        v.

 DRJ ENGINEERING, LLC, and DRJ
 ENGINEERING, LLC

                Defendants.




                        SCHEDULING ORDER UNDER RULE 16(b)

       The Court has reviewed the parties’ Joint Initial Status Report, which contains a proposed

discovery plan as required by Rule 26(f)(2). Based on the discovery plan proposed by the parties,

the Court hereby sets the following scheduling order under Rule 16(b). The Court will modify this

schedule “only for good cause.” See Fed. R. Civ. P. 16(b)(4).

       The parties are reminded that the pendency of a dispositive motion, such as a motion to

dismiss, does not automatically cause discovery to be stayed.

                     Event                                           Deadline

 Motions to Amend the Pleadings                  By leave of Court

 Service of process on any “John Does”           Not applicable.

 Completion of Fact Discovery                    May 30, 2025

 Disclosure of Plaintiff’s Expert Report(s)      June 30, 2025

 Deposition of Plaintiff’s Expert                July 25, 2025

 Disclosure of Defendant’s Expert Report(s)      August 14, 2025
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 Deposition of Defendant’s Expert           September 4, 2025

 Dispositive Motions                        October 3, 2025



SO ORDERED.


Date: September 25, 2024
                                              JOHN F. KNESS
                                              United States District Judge




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